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                      In re Tesla, Inc. Securities Litigation - Case No. 3:18-cv-04865-EMC (N.D. Cal.)
    Plaintiff’s Responses to Defendants’ Objections to Plaintiff’s Witness and Exhibit List for Day 3 - January 20, 2023

Witness   Ex.    Defendants’ Objections                                  Plaintiff’s Response                                Ruling
Joseph    8      No objection.
Fath
Joseph    13     No objection.
Fath
Joseph    39     Fed. R. Evid. 401, 402, 403, 404. Exhibit 39 is an      Plaintiff is not using this exhibit for the truth   O
Fath             irrelevant email from a Tesla investor in the month     of the matter asserted. Exhibit 39 is a July 19,
                 before the class period not concerning the potential    2018 (just weeks prior to the tweets) email
                 transaction to take Tesla private. Plaintiff seeks to   from Mr. Viecha, not Mr. Fath. Mr. Viecha is
                 use the email in an improper effort to show that Mr.    setting up a call with Mr. Fath and indicates
                 Musk received advice regarding his Twitter use from     that the call “cover recent communication
                 a third-party and is prone to making reckless           issues”, i.e. twitter use, and that Mr. Fath
                 statements on Twitter (i.e., improper character         should express what his “issues are (constant
                 evidence).                                              pushback from your investors, focus, etc).”

                                                                         This Court has already held that Musk’s prior
                                                                         twitter activity is relevant because “it bears on
                                                                         the Board defendants’ good-faith defense to
                                                                         the Section 20(a) claim against them.”
                                                                         Bellwether Order at 9 (citing S.E.C.v.Todd,
                                                                         642 F.3d 1207, 1223 (9th Cir.
                                                                         2011)(describing the good-faith defense).
                                                                         “Because these statements were tweeted by
                                                                         Mr. Musk within weeks of the tweets at issue
                                                                         in this case, it has probative value as to the
                                                                         Board’s knowledge of his tweet habits. Its
                                                                         probative value is not substantially
                                                                         outweighed by any prejudicial value.”

                                                                         Third party impressions of Mr. Musk’s twitter
                                                                         habits are relevant and proper.

                                                                         This case relates to Mr. Musk’s reckless
                                                                         tweets and as Defendants have shown they




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                      In re Tesla, Inc. Securities Litigation - Case No. 3:18-cv-04865-EMC (N.D. Cal.)
    Plaintiff’s Responses to Defendants’ Objections to Plaintiff’s Witness and Exhibit List for Day 3 - January 20, 2023

Witness Ex.      Defendants’ Objections                           Plaintiff’s Response                             Ruling
                                                                  intend to introduce tweets regarding Mr.
                                                                  Musk’s Twitter habits. See Musk Counter
                                                                  Designations ECF No. 582 at 14, Exs. 979-
                                                                  1000. Plaintiff should be able to do the same.

                                                                  Mr. Fath is testifying about his personal
                                                                  perception and mental state regarding Mr.
                                                                  Musk’s Twitter generally and the effect that
                                                                  had on the market. Given Defendants have
                                                                  introduced evidence about Mr. Musk’s
                                                                  Twitter use in general, it would substantially
                                                                  prejudice Plaintiff by excluding this
                                                                  testimony.

Joseph   40      No objection.
Fath
Joseph   41      N/A                                              Plaintiff withdraws designation.                 W
Fath
Joseph   42      No objection.
Fath
Joseph   43      N/A                                              Plaintiff withdraws designation.                 W
Fath
Joseph   44      No objection
Fath
Joseph   46      No objection
Fath
Joseph   47      No objection
Fath
Joseph   48      N/A                                              Plaintiff withdraws designation                  W
Fath
Joseph   49      N/A                                              Plaintiff withdraws designation                  W
Fath




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                      In re Tesla, Inc. Securities Litigation - Case No. 3:18-cv-04865-EMC (N.D. Cal.)
    Plaintiff’s Responses to Defendants’ Objections to Plaintiff’s Witness and Exhibit List for Day 3 - January 20, 2023

Witness   Ex.      Defendants’ Objections                                 Plaintiff’s Response                             Ruling
Joseph    51       N/A                                                    Plaintiff withdraws designation                  W
Fath
Joseph    6:11-14 No objection.
Fath
(Dep)
Joseph    6:22-    No objection.
Fath      8:6
(Dep)
Joseph    9:18-24 No objection.
Fath
(Dep)
Joseph    10:19-   No objection.
Fath      11:10
(Dep)
Joseph    12:10-   No objection.
Fath      13
(Dep)
Joseph    17:17-   No objection.
Fath      19
(Dep)
Joseph    17:23-   Fed. R. Evid. 401, 402, 403, 602, 701, 801.            This Court has already ruled that Exhibit 321,   O but the Court
Fath      21:25    Plaintiff’s counsel questioned the witness about the   Mr. Musk’s tweets relating to the diver is       will limit the
(Dep)     22:14-   witness’s efforts to arrange a phone call with Mr.     admissible. Bellwether Order (506-1, at 9-10     designated
          23:18    Musk well before the class period to discuss Mr.       “Its probative value is not substantially        testimony to
                   Musk’s tweeting habits and in particular a “Tweet      outweighed by any prejudicial value.”). Mr.      17:23-19:3.
                   regarding the situation in Thailand where . . . [Mr.   Fath’s testimony should be decided the same
                   Musk] decided to Tweet and call the individual that    way.
                   was leading the rescue a pedophile.” The witness
                   concluded that Mr. Musk made “a number of              In addition this case relates to Mr. Musk’s
                   Tweets” before the class period that were “clearly     reckless tweets and as Defendants have shown
                   derogatory [and] inflammatory.” The propriety of       they intend to introduce tweets regarding Mr.
                   Mr. Musk’s pre-class tweets is irrelevant. The         Musk’s Twitter habits. See Musk Counter
                   testimony carries a danger of unfair prejudice and     Designations ECF No. 582 at 14, Exs. 979-




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                      In re Tesla, Inc. Securities Litigation - Case No. 3:18-cv-04865-EMC (N.D. Cal.)
    Plaintiff’s Responses to Defendants’ Objections to Plaintiff’s Witness and Exhibit List for Day 3 - January 20, 2023

Witness Ex.      Defendants’ Objections                                     Plaintiff’s Response                                Ruling
                 confusing the jury into believing that this witness’s      1000. Plaintiff should be able to do the same.
                 opinions regarding Mr. Musk’s prior tweets or prior        He is also testifying about a tweet he
                 tweeting habits bear on his liability here. Further, the   personally saw, the effect he personally
                 witness testified regarding what he told Mr. Musk on       believed it had on the stock price, and testifies
                 their phone call. The witness’s testimony is               about his personal discussions with Mr. Musk
                 inadmissible hearsay that Plaintiff is seeking to play     about Mr. Musk’s Twitter use. Given
                 for the jury to prove the truth of the matter asserted     Defendants have introduced evidence about
                 (i.e., that Mr. Musk should not be tweeting because it     Mr. Musk’s Twitter use in general, it would
                 is leading to Tesla stock price declines). Finally, the    substantially prejudice Plaintiff by excluding
                 witness opined that that Mr. Musk’s pre-class-period       this testimony.
                 tweet had a “negative impact” on Tesla’s stock price.
                 The witness’s testimony is improper because he lacks       What Mr. Musk said to Mr. Fath is also an
                 personal knowledge of the cause of Tesla’s stock           opposing party statement and therefore not
                 price movements and is not an expert witness; such         hearsay. Mr. Fath’s testimony also discusses
                 testimony would need to be based on scientific,            his personal feelings and views about the
                 technical, or other specialized knowledge. Further,        tweet and his conversation with Mr. Musk at
                 the testimony is unfairly prejudicial and could            the time.
                 confuse the jury into incorrectly concluding that Mr.
                 Musk’s tweets in the class period caused a stock price     The testimony also shows Mr. Fath’s mental
                 decline.                                                   state to Mr. Musk’s Twitter habits generally.
                                                                            It goes to the mental state of third parties in
                                                                            response to Mr. Musk’s tweets which the
                                                                            Court has already indicated is appropriate.
                                                                            Therefore, it is admissible under 803(1) and
                                                                            803(3).

                                                                            This testimony would also be admissible to
                                                                            rehabilitate the witness under 801(b)(1).

                                                                            See also response for Exhibit 40. If the
                                                                            Exhibit is admitted, the testimony should also
                                                                            be admitted.




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                      In re Tesla, Inc. Securities Litigation - Case No. 3:18-cv-04865-EMC (N.D. Cal.)
    Plaintiff’s Responses to Defendants’ Objections to Plaintiff’s Witness and Exhibit List for Day 3 - January 20, 2023

Witness   Ex.      Defendants’ Objections                                   Plaintiff’s Response                                Ruling
Joseph    22:06-   No objection.
Fath      10
(Dep)
Joseph    25:12-   No objection.
Fath      14
(Dep)
Joseph    25:18-   Fed. R. Evid. 401, 402, 403, 602, 701, 801.              Plaintiff withdraws remainder of designation        S to 25:18-
Fath      30:22    Plaintiff’s counsel questioned the witness about his     (32:9-33:8).                                        30:22.
(Dep)     32:9-    email with his colleagues, wherein the witness wrote,
          33:8     “I can’t imagine [Mr. Musk] would tweet this if no[]     25:18-30:22                                         W as to 32:9-
                   truth to it because that would seem to me like pretty    This is testimony to Mr. Fath’s reaction to the     33:8.
                   black and white stock manipulation.” (Ex. 41.) The       August 7, 2018 tweets at issue in the case.
                   witness’s testimony is inadmissible hearsay that         This testimony goes to the mental state of
                   Plaintiff is seeking to play for the jury to prove the   third parties in response to Mr. Musk’s tweets
                   truth of the matter asserted (i.e., that Mr. Musk        which the Court has already indicated is
                   committed stock manipulation). The testimony             appropriate.
                   carries a danger of unfair prejudice and confusing the
                   jury. In addition to testifying as to Mr. Musk’s         It is also appropriate for Mr. Fath to talk about
                   supposed culpability, the witness testified that “at     his interpretation of the meaning of the tweets
                   that price point, it would have been a very healthy      and what he thought Mr. Viecha and Tesla
                   amount of capital you would need to raise to take the    meant under 701.
                   company private.” The witness’s testimony is
                   improper because he draws improper legal                 Finally, his description of what Mr. Viecha
                   conclusions, lacks personal knowledge of the             said to him is an opposing party statement and
                   material truth of Mr. Musk’s statements, lacks           not hearsay. In any event it would be allowed
                   personal knowledge of the capital needed to take         under 803(1) and 803(3).
                   Tesla private, and is not an expert witness; such
                   testimony would need to be based on scientific,          This testimony would also be admissible to
                   technical, or other specialized knowledge.               rehabilitate the witness under 801(b)(1).

Joseph    35:3-9   No objection.
Fath
(Dep)




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                      In re Tesla, Inc. Securities Litigation - Case No. 3:18-cv-04865-EMC (N.D. Cal.)
    Plaintiff’s Responses to Defendants’ Objections to Plaintiff’s Witness and Exhibit List for Day 3 - January 20, 2023

Witness   Ex.      Defendants’ Objections                                    Plaintiff’s Response                             Ruling
Joseph    36:23-   No objection.
Fath      37:12
(Dep)
Joseph    38:5-    No objection.
Fath      39:3
(Dep)
Joseph    39:13-   Fed. R. Evid. 401, 402, 403, 602. The witness             This case relates to Mr. Musk’s reckless         S
Fath      42:1     testified that Mr. Musk’s “frustration with the public    tweets and as Defendants have shown they
(Dep)              markets” was “his own doing” “fueled . . . by his         intend to introduce tweets regarding Mr.
                   Tweeting” “because he created that environment            Musk’s Twitter habits. See Musk Counter
                   where the press would constantly write, both              Designations ECF No. 582 at 14, Exs. 979-
                   accurately and inaccurately, about all types of things    1000. Plaintiff should be able to do the same.
                   around Tesla and it created, you know, really a
                   firestorm of press activity around the company.” The      Mr. Fath is testifying about his personal
                   witness lacks knowledge as to why and whether Mr.         perception and mental state regarding Mr.
                   Musk is frustrated with the public markets. His           Musk’s Twitter generally and the effect that
                   testimony is inadmissible speculation. Further,           had on the reader and the market. Given
                   whether Mr. Musk’s tweets generally “fueled” a            Defendants have introduced evidence about
                   “firestorm of press activity” is not relevant here, and   Mr. Musk’s Twitter use in general, it would
                   introduction of this testimony carries a danger of        substantially prejudice Plaintiff by excluding
                   unfair prejudice and confusing the jury.                  this testimony.

                                                                             This testimony must also be admitted under
                                                                             106, rule of completeness.

                                                                             See also response for Exhibit 42. If the
                                                                             Exhibit is admitted, the testimony should also
                                                                             be admitted.

Joseph    42:9-    No objection.
Fath      42:11
(Dep)




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                      In re Tesla, Inc. Securities Litigation - Case No. 3:18-cv-04865-EMC (N.D. Cal.)
    Plaintiff’s Responses to Defendants’ Objections to Plaintiff’s Witness and Exhibit List for Day 3 - January 20, 2023

Witness   Ex.      Defendants’ Objections                                    Plaintiff’s Response                               Ruling
Joseph    42:21-   No objection.
Fath      23
(Dep)
Joseph    43:1-    Fed. R. Evid. 401, 402, 403, 701, 801. Plaintiff’s        This testimony is provided in connection with      S
Fath      44:18    counsel questioned the witness about an email the         Exhibit 43 (see above). It is not being used for
(Dep)              witness sent to his colleagues that stated, “The Tesla    the truth of the matter asserted but to show the
                   shorts got up and close wit napalm yesterday.” The        market’s mental state in response to Mr.
                   email and related testimony is inadmissible hearsay       Musk’s tweets which the Court has already
                   that Plaintiff is seeking to play for the jury to prove   indicated is appropriate. Bellwether Order
                   the truth of the matter asserted (i.e., that Mr. Musk’s   (506-1, at 10-11).
                   tweets harmed Tesla short sellers). The testimony
                   carries a danger of unfair prejudice and confusing the    To the extent that Mr. Fath comments on the
                   jury. Further, the witness speculated that Mr. Musk’s     increase in stock price, what he believed
                   tweets “had a sharp move up on the stock which            happened, and noted that the volume was
                   caused a short covering.” The witness then purported      higher than the 30 day average, this goes to
                   to explain short selling and covering. The witness’s      his belief and is not a scientific opinion and
                   testimony is improper as a legal conclusion, and          therefore proper under 701.
                   because he lacks personal knowledge of the cause of
                   Tesla’s stock price movements and is not an expert
                   witness; such testimony would need to be based on
                   scientific, technical, or other specialized knowledge.
Joseph    44:25-   Fed. R. Evid. 401, 402, 403, 602. Objections                                                                 O
Fath      46:8     reserved given prior Court ruling on public
(Dep)              information during the class period and state of mind,
                   assuming not used for the truth; no Court action
                   needed.
Joseph    46:18-   No objection.
Fath      47:3
(Dep)
Joseph    48:13-   No objection.
Fath      50:16
(Dep)




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                      In re Tesla, Inc. Securities Litigation - Case No. 3:18-cv-04865-EMC (N.D. Cal.)
    Plaintiff’s Responses to Defendants’ Objections to Plaintiff’s Witness and Exhibit List for Day 3 - January 20, 2023

Witness   Ex.      Defendants’ Objections                                   Plaintiff’s Response                              Ruling
Joseph    54:23-   No objection.
Fath      56:15
(Dep)
Joseph    56:23-   No objection
Fath      57:15
(Dep)     58:1-5
Joseph    60:1-6   No objection.
Fath
(Dep)
Joseph    60:11-   Fed. R. Evid. 401, 402, 403, 602, 801. Plaintiff’s       This case relates to Mr. Musk’s reckless          O
Fath      61:25    counsel questioned the witness about an email he         tweets and as Defendants have shown they
(Dep)              wrote to his colleagues speculating that “I may be       intend to introduce tweets regarding Mr.
                   reading into this too much, but if you recall, Musk      Musk’s Twitter habits. See Musk Counter
                   was talking a couple months ago about an epic short      Designations ECF No. 582 at 14, Exs. 979-
                   burn that was coming. In hindsight now, formally not     1000. Plaintiff should be able to do the same.
                   hitting 5K per week in production of Model 3, that
                   these take private discussions that were likely taking   Plaintiff is not using Exhibit 48 for the truth
                   place.” (Ex. 48.) The email and related testimony is     of the matter asserted. Mr. Fath is testifying
                   inadmissible hearsay that Plaintiff is seeking to play   about his personal perception and mental state
                   for the jury to prove the truth of the matter asserted   regarding Mr. Musk’s Twitter generally and
                   (i.e., that Mr. Musk wanted to “burn” short sellers by   the effect that had on the reader and the
                   taking Tesla private). Further, the witness concedes     market. Given Defendants have introduced
                   that his email was pure speculation (“we speculated it   evidence about Mr. Musk’s Twitter use in
                   was this, and that our speculation, my speculation,      general, it would substantially prejudice
                   was that he had been working on this, you know, for      Plaintiff by excluding this testimony.
                   months”). The witness’s speculation into Mr. Musk’s
                   intent is irrelevant and carries a danger of unfair      See also response for Exhibit 48. If the
                   prejudice and confusing the jury.                        Exhibit is admitted, the testimony should also
                                                                            be admitted.

Joseph    62:08-   N/A                                                      Plaintiff withdraws designation.                  W
Fath      64:05
(Dep)




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    Plaintiff’s Responses to Defendants’ Objections to Plaintiff’s Witness and Exhibit List for Day 3 - January 20, 2023

Witness Ex.       Defendants’ Objections                                   Plaintiff’s Response                             Ruling
        64:11-
        65:01
        66:21-
        67:06
        67:12-
        71:18
Joseph  70:14-    N/A                                                      Plaintiff withdraws designation.                 W
Fath    71:18
(Dep)
Joseph  73:13-   Fed. R. Evid. 401, 402, 403, 602. Objections                                                               O
Fath    74:3     reserved given prior Court ruling on public
(Dep)            information during the class period and state of mind,
                 assuming not used for the truth; no Court action
                 needed.
Joseph   75:3-20 No objection.
Fath
(Dep)
Joseph   76:11-   Fed. R. Evid. 401, 402, 403, 602, 701, 801.              Plaintiff withdraws his designation of 76:11-    W as to 76:11-
Fath     78:15    Plaintiff’s counsel questioned the witness about an      21.                                              21; S as to
(Dep)             email with his colleagues, wherein the witness           76:22-78:15                                      76:22-78:15
                  wrote, “The SEC is looking into whether [Mr. Musk]       The Court has already determined that third
                  has the funding lined up like he claimed he does         party’s impressions of the tweets are relevant
                  because if not then that is pretty clearly stock         and not hearsay. Mr. Fath’s testimony
                  manipulation.” (Ex. 50.) The email and the               concerns the market reaction to tweets and the
                  witness’s testimony is inadmissible hearsay that         announcement of the SEC investigation.
                  Plaintiff is seeking to play for the jury to prove the   Notably, this testimony does not indicate that
                  truth of the matter asserted (i.e., that Mr. Musk        Defendants committed securities fraud or
                  manipulated the price of Tesla’s stock). Further, the    manipulated the market. It simply comments
                  witness lacked knowledge about the SEC                   on a publicly announced SEC investigation
                  investigation. To the extent the Court finds that the    (Not the settlement), which this Court has
                  witness’s testimony has any probative value, that        previously held will come into evidence. Final
                  value is substantially outweighed by a danger of         Pretrial Order ECF No. 508 at 32 (it is true
                  unfair prejudice and confusing the jury into crediting   that the SEC investigation—which began




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     Plaintiff’s Responses to Defendants’ Objections to Plaintiff’s Witness and Exhibit List for Day 3 - January 20, 2023

Witness Ex.       Defendants’ Objections                              Plaintiff’s Response                              Ruling
                  the witness’s personal opinion about the SEC        during the Class Period—may be relevant to
                  investigation and that Mr. Musk committed stock     loss causation and damages, this theory does
                  manipulation. Finally, the witness’s testimony is   not explain how the complaints and
                  improper because he draws a legal conclusion.       settlements—which materialized more than a
                                                                      month after the end of the Class Period—are
                                                                      relevant.” (emphasis in original)). “Upon
                                                                      request, the Court will issue a limiting
                                                                      instruction informing the jury that they should
                                                                      not make any assumptions regarding the
                                                                      outcome of the SEC investigation.” Id. At 33.
                                                                      Accordingly, this testimony is relevant not
                                                                      unfairly prejudicial, and its probative value
                                                                      outweighs any danger of unfair prejudice.

                                                                      Mr. Fath’s knowledge is based on public
                                                                      information about the SEC investigation,
                                                                      which is consistent with this designated
                                                                      testimony: “I know when the investigation
                                                                      started. It was Wednesday, August 8th.” 77:4-
                                                                      5.

                                                                      Finally, Plaintiff has designated Mr. Fath’s
                                                                      testimony to show the market effect on the
                                                                      listener for the SEC investigation; this
                                                                      testimony is opinion testimony by a lay
                                                                      witness pursuant to Fed. R. Evid. 701. This
                                                                      testimony is helpful to understand how the
                                                                      market reacted to the announcement of the
                                                                      SEC investigation (Not the settlement). This
                                                                      testimony is based on Mr. Fath’s observations
                                                                      and not on scientific, technical, or other
                                                                      specialized knowledge within the scope of the
                                                                      Fed. R. Evid. 702.




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     Plaintiff’s Responses to Defendants’ Objections to Plaintiff’s Witness and Exhibit List for Day 3 - January 20, 2023

Witness Ex.       Defendants’ Objections                                      Plaintiff’s Response                               Ruling

Joseph   78:23-   No objection.
Fath     79:9
(Dep)
Joseph   82:6-    Fed. R. Evid. 401, 402, 403, 602, 701, 801. The             Plaintiff is not using this testimony for the      S
Fath     83:17    witness testified about an email he wrote which             truth of the matter asserted, but to show the
(Dep)             purported to quote a third party who is not a witness       market effect on the listener for both Mr.
                  in this case: “From Phil on Tesla. Pause in short           Musk’s tweets and the SEC investigation. It
                  covering . . . .” (Ex. 51.) The witness quotes his          simply comments on a publicly announced
                  colleague “Phil” as saying “SEC has their foot in           SEC investigation (Not the settlement), which
                  [Tesla’s] ass and going further up it. They were            this Court has previously held will come into
                  already looking into manufacturing now they are             evidence. Final Pretrial Order ECF No. 508 at
                  looking into the truth behind the tweets.” The email        32 (it is true that the SEC investigation—
                  and the witness’s testimony is inadmissible hearsay         which began during the Class Period—may be
                  within hearsay (what Phil allegedly told the witness        relevant to loss causation and damages, this
                  and what the witness wrote in his email) that Plaintiff     theory does not explain how the complaints
                  is seeking to play for the jury to prove the truth of the   and settlements—which materialized more
                  matter asserted. The witness lacked knowledge about         than a month after the end of the Class
                  statements made by “Phil” and appears to have               Period—are relevant.” (emphasis in original)).
                  simply copied them into an email. The email and the
                  witness’s associated testimony carry a danger of            Additionally, Plaintiff is not using Exhibit 51,
                  unfair prejudice and confusing the jury into crediting      or testimony related to the “Pause in short
                  the witness’s quote of “Phil’s” opinion.                    covering” for the truth of the matter asserted.
                                                                              There is no risk of confusion to the jury on
                                                                              this point.

                                                                              See Exhibit 51.
Joseph   91:8-    Fed. R. Evid. 401, 402, 403, 602. Objections                                                                   O
Fath     92:5     reserved given prior Court ruling on “state of mind”
(Dep)             of market participants, assuming not used for the
                  truth; no Court action needed.




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                       In re Tesla, Inc. Securities Litigation - Case No. 3:18-cv-04865-EMC (N.D. Cal.)
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Witness   Ex.      Defendants’ Objections                                 Plaintiff’s Response                    Ruling
Joseph    92:23-   No objection.
Fath      93:10
(Dep)
Joseph    94:18-   Fed. R. Evid. 401, 402, 403, 602. Objections                                                   O
Fath      95:8     reserved given prior Court ruling on “state of mind”
(Dep)              of market participants, assuming not used for the
                   truth; no Court action needed.
Joseph    98:9-    No objection.
Fath      99:3
(Dep)
Joseph    99:9-    No objection.
Fath      100:19
(Dep)
Joseph    101:22- Fed. R. Evid. 401, 402, 403, 602. The witness           Plaintiff withdraws this designation.   W
Fath      102:18 testified regarding the SEC’s “contempt decree”
(Dep)             against Mr. Musk and speculated that it caused Mr.
                  Musk to “step[] back from . . . an abusive use of
                  Twitter.” The Court has already granted Defendants’
                  motion in limine to preclude evidence concerning the
                  SEC’s complaints against Tesla and Mr. Musk and
                  the associated settlements on the basis that the
                  probative value of the evidence is substantially
                  outweighed by unfair prejudice. (Dkt. No. 508 at
                  31.) The same reasoning applies here. Further, the
                  witness speculated and lacks any personal knowledge
                  the any actions by the SEC caused Mr. Musk to
                  change his use of Twitter. Finally, it would be
                  unfairly prejudicial to allow the witness to tell the
                  jury that Mr. Musk engages in an “abusive use of
                  Twitter.”
Deepak    8       No objection.
Ahuja




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     Plaintiff’s Responses to Defendants’ Objections to Plaintiff’s Witness and Exhibit List for Day 3 - January 20, 2023

Witness Ex.       Defendants’ Objections                                     Plaintiff’s Response                              Ruling
Deepak 12         No objection.
Ahuja
Deepak 78         See objection to Exhibit 39.                                                                                 O (subject to
Ahuja                                                                                                                          foundation of
                                                                                                                               Board
                                                                                                                               knowledge)
Deepak   79       No objection, provided (1) Plaintiff uses the version      Plaintiff will consider agreeing to redact        O (subject to
Ahuja             of Exhibit 79 that redacts all personal identifying        irrelevant text messages, or text messages        redaction)
                  information, including phone numbers and addresses;        with persons not identified in this litigation.
                  (2) does not seek to admit the entire document but         However, Plaintiff does not agree to separate
                  rather only admits the text messages introduced            each of Mr. Ahuja’s text messages for each
                  during Mr. Ahuja’s testimony, subject to 401, 402,         witness. Mr. Ahuja’s text messages need to be
                  403, 801 objections as appropriate. Defendants are         read in context and potentially having
                  willing to meet and confer with Plaintiff to identify      multiple versions of Exhibit 79 would be
                  the specific text messages the parties seek to admit       confusing to the jury.
                  and reach a stipulation regarding this Exhibit.
                  Otherwise, Defendants assert objections under Fed.
                  R. Evid. 401, 402, 403, and 801.
Deepak   80       Fed. R. Evid. 401, 403, 801, 901. Exhibit 80 is a          See Response to Exhibit 80 for Mr. Musk           O
Ahuja             hearsay set of “minutes” allegedly from the PIF with       (ECF No. 592 at 9-10). If Exhibit 80 is
                  no listed author and no witness at trial to authenticate   admitted for Mr. Musk it should be permitted
                  or lay a foundation.                                       for Mr. Ahuja.
Deepak   81       No objection.
Ahuja
Deepak   83       No objection.
Ahuja
Deepak   84       No objection.
Ahuja
Deepak   86       No objection.
Ahuja
Deepak   87       No objection.
Ahuja




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Witness Ex.       Defendants’ Objections                                 Plaintiff’s Response                              Ruling
Deepak 89         No objection.
Ahuja
Deepak 121        No objection provided that Plaintiff only seeks to     Plaintiff will consider agreeing to redact        O (subject to
Ahuja             admit Mr. Ahuja’s August 7, 2018 text messages         irrelevant text messages, or text messages        redaction)
                  with Mr. Musk at 121-4. Otherwise, Defendants          with persons not identified in this litigation.
                  object under Fed. R. Evid. 401, 402, 403, 602, 801.    However, Plaintiff does not agree to separate
                                                                         each of Mr. Musk’s text messages for each
                                                                         witness. Mr. Musk’s text messages need to be
                                                                         read in context and having multiple versions
                                                                         of Exhibit 121 would be confusing to the jury.
Deepak   321      Defendants understand this objection is subsumed by                                                      O
Ahuja             the Court’s prior ruling and therefore overruled but
                  nonetheless note for the record their objection
                  pursuant to Fed. R. Evid. 401, 402, 403.
                  No Court Action Needed.
Deepak   337      Defendants understand this objection is subsumed by                                                      O
Ahuja             the Court’s prior ruling and therefore overruled but
                  nonetheless note for the record their objection
                  pursuant to Fed. R. Evid. 801.
                  No Court Action Needed.
Deepak   503      No objection.
Ahuja
Nii      8        No objection.
Koney
Nii      12       No objection.
Koney
Nii      13       No objection.
Koney
Nii      55       Fed. R. Evid. 403, 602, 801. Exhibit 55 is an email    The Court has already determined that third       O
Koney             internal to Jennison (i.e., not to Tesla) wherein a    party’s impressions of the tweets are relevant
                  Jennison employee (Mr. Koney) who had no personal      and not hearsay. Dkt. No. 575 at 2.
                  knowledge of Mr. Musk’s consideration to take Tesla    This testimony is clearly relevant and not
                                                                         unduly prejudicial. The email contains a




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Witness Ex.       Defendants’ Objections                                    Plaintiff’s Response                              Ruling
                  private speculated that Tesla might want to go private    present sent impression and qualifies a
                  to “avoid public scrutiny.”                               business record 803(6). Mr. Koney has
                                                                            knowledge of his own impression and has
                                                                            additional knowledge of Tesla as he followed
                                                                            the company for years as the managing
                                                                            director of research for Jennison Associates.
Nii      56       Defendants understand this objection is subsumed by                                                         O
Koney             the Court’s prior ruling and therefore overruled but
                  nonetheless note for the record their objection
                  pursuant to Fed. R. Evid. 801.
                  No Court Action Needed.
Nii      58       Fed. R. Evid. 401, 402, 403, 602. Plaintiff seeks to      The Court has already overruled this              O
Koney             show the jury emails by Martin Viecha concerning          objection. “This exhibit is relevant because it
                  Mr. Musk’s August 7, 2018 tweets. The questions to        provides evidence of the public's perception
                  Mr. Viecha and Mr. Viecha’s responses are not             of Mr. Musk’s tweets and thus goes towards
                  admissible. As to the questions, the fact that single     materiality. The exhibit is not unfairly
                  analysts were asking questions about funding is not       prejudicial given Mr. Viecha’s role at Tesla.”
                  probative of materiality, as the analysts could be        Dkt. No. 506-1 at 6; see also Dkt. No. 575 at
                  asking questions for a variety of reasons, including
                                                                            2.
                  that the statements were vague. The jury would be
                  speculating as to the reason for the analysts’
                  inquiries. Thus, the questions are hearsay, as they       Mr. Koney has knowledge of his own
                  are being offered for the truth of the matter asserted    impression and has additional knowledge of
                  (that funding was material). Nor does the question        Tesla as he followed the company for years as
                  from one person reflect the “state of mind” of the        the managing director of research
                  market as a whole. As to Mr. Viecha’s responses,
                  even if they are party admissions (as the Court
                  previously implied), to be admissible they still must
                  be on a relevant topic, probative, and not cumulative.
                  Mr. Viecha’s statements are none of those. First, Mr.
                  Viecha’s emails were private statements, not public
                  statements made to the market as a whole, so they do
                  not alter the total mix of information available to the




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Witness Ex.       Defendants’ Objections                                   Plaintiff’s Response                              Ruling
                  market and do not reflect what the market knew or
                  thought of Mr. Musk’s tweets. Second, Mr. Viecha’s
                  responses about what “funding secured” means is not
                  relevant because the Court already determined that
                  “funding secured” is false, so Mr. Viecha’s
                  interpretation is not probative of anything going to
                  the jury. Finally, Plaintiff has not established
                  foundation or that Mr. Viecha had any personal
                  knowledge of what Mr. Musk meant in his tweets. In
                  fact, he had none.
Nii      60       Fed. R. Evid. 403, 602, 701, 801. Exhibit 60 is an       Plaintiff is not using this testimony for the     O
Koney             email internal Jennison (i.e., not to Tesla) wherein a   truth of the matter asserted, but to show the
                  Jennison employee (Mr. Koney) who had no personal        effect on the listener. This is consistent with
                  knowledge of Mr. Musk’s consideration to take Tesla      the Court’s Bellwether Order on the similar
                  private speculated that, by tweeting his consideration   article. See ECF 506-1, at 12 (“The article
                  to take Tesla private, Mr. Musk “risk[ed] being          could, however, be introduced to show the
                  hauled off to jail.” Mr. Koney’s conclusion is           effect on the listener (i.e. the market)”).
                  hearsay, unfairly prejudicial, and improper expert
                  opinion. In the Court’s bellwether ruling, the Court
                  sustained Defendants’ objection to a similar             This exhibit does not contain improper legal
                  document where the author questioned, “Did Elon          conclusions or improper lay opinions. These
                  Musk violate securities laws with tweet about taking     emails are rationally based on Mr. Koney’s
                  Tesla private?” (ECF No. 506-1 at 12 (“there are         perception as an analyst who covers Tesla and
                  significant Rule 403 issues. The headline is             the financial markets. The emails are based on
                  inflammatory and goes close to the ultimate issue in     Mr. Koney's observations and not on
                  the case.”).) The result here should be the same.        scientific, technical, or other specialized
                                                                           knowledge within the scope of Fed. Rule
                                                                           Evid. 702. This is proper because of the
                                                                           particularized knowledge Mr. Koney has by
                                                                           virtue of position at Jennison Associates.

                                                                           See also response to Defendants’ objection to
                                                                           Exhibit 55 re: Fed. R. Evid. 602 and 803(6).



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Witness Ex.       Defendants’ Objections                                 Plaintiff’s Response                            Ruling

Nii      61       Defendants understand this objection is subsumed by                                                    O
Koney             the Court’s prior ruling and therefore overruled but
                  nonetheless note for the record their objection
                  pursuant to Fed. R. Evid. 801.
                  No Court Action Needed.
Nii      62       Defendants understand this objection is subsumed by                                                    O
Koney             the Court’s prior ruling and therefore overruled but
                  nonetheless note for the record their objection
                  pursuant to Fed. R. Evid. 801.
                  No Court Action Needed.
Nii      66       No objection.
Koney
Nii      67       Fed. R. Evid. 801.                                     This exhibit contains former testimony from     S
Koney                                                                    Mr. Koney, an unavailable witness, and is not
                                                                         excluded by the rule against hearsay pursuant
                                                                         to Fed. R. Evid. 804(b)(1).
Nii      68       Defendants understand this objection is subsumed by                                                    O
Koney             the Court’s prior ruling and therefore overruled but
                  nonetheless note for the record their objection
                  pursuant to Fed. R. Evid. 801.
                  No Court Action Needed.
Nii      8:3-5    No objection.
Koney
(Dep)
Nii      8:13-15 No objection.
Koney
(Dep)
Nii      12:20-   No objection.
Koney    13:8
(Dep)




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Witness   Ex.      Defendants’ Objections                                 Plaintiff’s Response                Ruling
Nii       16:13-   No objection.
Koney     18
(Dep)
Nii       18:22-   No objection.
Koney     19:8
(Dep)
Nii       19:11-   No objection.
Koney     16
(Dep)
Nii       20:11-   Defendants understand this objection is subsumed by                                        O
Koney     21:6     the Court’s prior ruling and therefore overruled but
(Dep)              nonetheless note for the record their objection
                   pursuant to Fed. R. Evid. 401, 402, 403, 801.
                   No Court Action Needed.
Nii       26:16-   No objection.
Koney     26:23
(Dep)
Nii       32:12-   Defendants understand this objection is subsumed by                                        O
Koney     21       the Court’s prior ruling and therefore overruled but
(Dep)              nonetheless note for the record their objection
                   pursuant to Fed. R. Evid. 401, 402, 801.
                   No Court Action Needed.
Nii       37:23-   No objection.
Koney     38:4
(Dep)
Nii       43:1-3   No objection.
Koney
(Dep)
Nii       43:9-11 No objection.
Koney
(Dep)




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Witness Ex.      Defendants’ Objections                                 Plaintiff’s Response                           Ruling
Nii     43:19-   Defendants understand this objection is subsumed by                                                   O
Koney   44:19    the Court’s prior ruling and therefore overruled but
(Dep)            nonetheless note for the record their objection
                 pursuant to Fed. R. Evid. 401, 402, 801.
                 No Court Action Needed.
Nii      45:1-17 Defendants understand this objection is subsumed by                                                   O
Koney            the Court’s prior ruling and therefore overruled but
(Dep)            nonetheless note for the record their objection
                 pursuant to Fed. R. Evid. 401, 402, 801.
                 No Court Action Needed.
Nii      53:18- No objection.
Koney    22
(Dep)
Nii      54:7-9   No objection.
Koney
(Dep)
Nii      54:24-   Fed. R. Evid. 401, 402, 801. See objections to        The Court has already overruled these           O
Koney    55:25    Exhibit 58                                            objections to Exhibit 58. “This exhibit is
(Dep)                                                                   relevant because it provides evidence of the
                                                                        public's perception of Mr. Musk’s tweets and
                                                                        thus goes towards materiality. The exhibit is
                                                                        not unfairly prejudicial given Mr. Viecha’s
                                                                        role at Tesla.” Dkt. No. 506-1 at 6; see also
                                                                        Dkt. No. 575 at 2. Testimony concerning this
                                                                        exhibit should be allowed. See also Plaintiff’s
                                                                        responses to Defendants’ objections to Exhibit
                                                                        58

                                                                        Furthermore, the Court has already
                                                                        determined that third party’s impressions of
                                                                        the tweets are relevant and not hearsay.




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Witness   Ex.     Defendants’ Objections                                 Plaintiff’s Response                             Ruling
Nii       60:4-21 Fed. R. Evid. 401, 402, 403, 801. See objections to    This testimony is related to Exhibit 58. See     O
Koney             Exhibit 58.                                            Plaintiff’s response to Defendants objections
(Dep)                                                                    to Exhibit 58 and Dep. Desig. 54:24-55:25.
Nii       61:9-    Fed. R. Evid. 401, 402, 403, 801. See objections to   This testimony is related to Exhibit 58. See     O
Koney     62:12    Exhibit 58.                                           Plaintiff’s response to Defendants objections
(Dep)                                                                    to Exhibit 58 and Dep. Desig. 54:24-55:25.

Nii       65:6-22 No objection.
Koney
(Dep)
Nii       66:2-16 Fed. R. Evid. 401, 402, 403, 801. See objections to    This testimony is related to Exhibit 60. See     O
Koney             Exhibit 60.                                            Plaintiff’s response to Defendants’ objections
(Dep)                                                                    to Exhibit 60.

Nii       67:10-   No objection.
Koney     14
(Dep)
Nii       67:18-   Fed. R. Evid. 401, 402, 403, 801. See objections to   In Defendants’ objections to Exhibit 61,         O
Koney     68:11    Exhibit 61.                                           Defendants admit this objection is subsumed
(Dep)                                                                    by the Court’s prior ruling and therefore
                                                                         overruled but nonetheless they note for the
                                                                         record their objection pursuant to Fed. R.
                                                                         Evid. 801. Accordingly, testimony regarding
                                                                         this exhibit should be played for the jury.

Nii       70:10-   Fed. R. Evid. 401, 402, 403, 602, 801. Hearsay and    Defendants’ objection misrepresents Mr.          O
Koney     23       unfairly prejudicial statement that “there is no      Koney’s testimony: “I said that they haven’t
(Dep)              evidence” that Mr. Musk “has the funding.” See        disclosed a source of funding yet, very
                   objections to Exhibit 61.                             different from no evidence of funding.”
                                                                         70:20-23. This is not unfairly prejudicial.




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Witness Ex.       Defendants’ Objections                                 Plaintiff’s Response                              Ruling
                                                                         See also Plaintiff’s response to Defendants’
                                                                         objections to Depo. Desig. 67:18-68:11.
Nii      70:25-   Defendants understand this objection is subsumed by                                                      O
Koney    71:11    the Court’s prior ruling and therefore overruled but
(Dep)             nonetheless note for the record their objection
                  pursuant to Fed. R. Evid. 401, 402, 801.
                  No Court Action Needed.
Nii      71:20-   Fed. R. Evid. 401, 402, 801. See objections to         The Court has already overruled these             O
Koney    72:9     Exhibit 58.                                            objections to Exhibit 58 and testimony
(Dep)                                                                    relating to same should be played for the jury.
                                                                         See Plaintiff’s response to Defendants’
                                                                         objections to Exhibit 58.

Nii      74:16-   No objection.
Koney    75:1
(Dep)
Nii      84:15-   Fed. R. Evid. 401, 402, 602, 801. See objections to    In Defendants’ objections to Exhibit 62,          O
Koney    85:17    Exhibit 62.                                            Defendants admit this objection is subsumed
(Dep)                                                                    by the Court’s prior ruling and therefore
                                                                         overruled but nonetheless they note for the
                                                                         record their objection pursuant to Fed. R.
                                                                         Evid. 801. Accordingly, testimony regarding
                                                                         this exhibit should be played for the jury.

Nii      99:1-    No objection.
Koney    99:9
(Dep)
Nii      99:17-   No objection.
Koney    20
(Dep)




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Witness   Ex.       Defendants’ Objections                                    Plaintiff’s Response                             Ruling
Nii       100:5-    Fed. R. Evid. 401, 402, 801. Hearsay notes where          Defendants’ objection to Exhibit 66 is as        O
Koney     101:6,    the author admitted he is “a terrible note taker” and     follows: “No objection.” Testimony
(Dep)     101:24-   didn’t “remember all of the details of the call outside   concerning this exhibit is relevant to the
          104:5     of the notes.” See objections to Exhibit 66.              events that are the subject of this case and not
                                                                              excluded by the rule against hearsay pursuant
                                                                              to Fed. R. Evid. 804(d)(1). Mr. Koney’s notes
                                                                              were taken contemporaneously with his call
                                                                              with Elon Musk, either during the call or
                                                                              shortly after the call to memorialize the
                                                                              discussion. 100:21-101:7. Accordingly, they
                                                                              are not hearsay pursuant to Fed. R. Evid.
                                                                              803(1). Defendants’ counter designation also
                                                                              includes testimony that it was his general
                                                                              practice to take notes when speaking to the
                                                                              CEO of a company he followed, which would
                                                                              qualify them as a business record pursuant to
                                                                              Fed. R. Evid. 803(6). 101:7-14.

                                                                              Mr. Koney testified that he remembered the
                                                                              call (102:9) and these notes refresh his
                                                                              recollection. Nothing in this testimony
                                                                              indicates that the notes are unreliable.

Nii       110:1-    No objection.
Koney     110:5
(Dep)
Nii       112:2-    No objection.
Koney     114:9
(Dep)
Nii       114:16- No objection.
Koney     115:2
(Dep)



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Witness   Ex.      Defendants’ Objections                                   Plaintiff’s Response                           Ruling
Nii       117:7-   No objection.
Koney     16
(Dep)
David     8        No objection.
Arnold
David     12       No objection.
Arnold
David     53       No objection.
Arnold
David     171      Fed. R. Evid. 401, 402, 403, 801. Objections             While not bolded, Plaintiff understands that   O
Arnold             reserved given prior Court ruling on public              no Court action is needed.
                   information during the class period and state of mind,
                   assuming not used for the truth; no Court action
                   needed.
David     303      Fed. R. Evid. 403 as to the headline “Securities         Plaintiff agrees to redact the headline.       O (subject to
Arnold             lawyers shocked by Elon Musk’s tweet, point to                                                          redaction)
                   potential legal minefield.” Defendants request that
                   this line be redacted pursuant to the Court’s
                   Bellwether Order. See ECF No. 506-1 at 12.

                   Fed. R. Evid. 401, 402, 403, 801, 1002. Objections
                   reserved given prior Court ruling on public
                   information during the class period and state of mind,
                   assuming not used for the truth; no Court action
                   needed otherwise.
David     339      See objection to Exhibit 303.                            Plaintiff agrees to redact the headline.       O (subject to
Arnold                                                                                                                     redaction)
David     342      See objection to Exhibit 303.                            Plaintiff agrees to redact the headline.       O (subject to
Arnold                                                                                                                     redaction)
David     348      Fed. R. Evid. 401,402, 403, 801. The Court has           Plaintiff withdraws Exhibit 348 while          W
Arnold             already ruled that Plaintiff cannot seek to introduce    reserving all rights.
                   Exhibit 320, a tweet wherein Mr. Musk made a
                   reference to the drug Ambien. The Court found that




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                  the tweet had “little probative value” and was
                  “unfairly prejudicial” in improperly suggesting that
                  Mr. Musk “is intoxicated when he uses Twitter.”
                  (ECF No. 506-1 at 9.) Plaintiff now seeks to
                  backdoor that same unfairly prejudicial information
                  through Exhibit 348, an article titled “Elon Musk’s
                  strange, strange Ambien tweet.” The article predates
                  the class period, has no probative value, is hearsay,
                  and is unfairly prejudicial. Consistent with the
                  Court’s bellwether ruling, Plaintiff should not be
                  permitted to admit Exhibit 348.
David    503      No objection.
Arnold
David    504      No objection.
Arnold
David    505      No objection.
Arnold




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